Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 1 of 28




                                Exhibit
                                  1
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 2 of 28

      PETER R. FRITSCH· Attorneys Eyes Only                       August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                         1

 ·1· · · · · · · · · UNITED STATES DISTRICT COURT

 ·2· · · · · · · · · SOUTHERN DISTRICT OF FLORIDA

 ·3· · · · · · · · · · · · MIAMI DIVISION

 ·4

 ·5· ·_______________________________

 ·6· ·IN RE THIRD PARTY SUBPOENA TO· |· ·Case No.

 ·7· ·FUSION GPS· · · · · · · · · · ·|· ·0 18-mc-60528-UU

 ·8· ·_______________________________|

 ·9· ·ALEKSEJ GUBAREV,· · · · · · · ·|

 10· ·XBT HOLDING S.A. and· · · · · ·|

 11· ·WEBZILLA, INC.· · · · · · · · ·|· ·Case No.

 12· · · · Plaintiffs,· · · · · · · ·|· ·0 17-cv-60426-UU

 13· ·-v-· · · · · · · · · · · · · · |

 14· ·BUZZFEED, INC., and· · · · · · |

 15· ·BEN SMITH· · · · · · · · · · · |

 16· · · · Defendants.· · · · · · · ·|

 17· ·_______________________________|

 18

 19

 20

 21


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 3 of 28

     PETER R. FRITSCH· Attorneys Eyes Only                        August 30, 2018
     ALEKSEJ GUBAREV -v- BUZZFEED INC.                                          9

 ·1· · · · · · ·MR. LEVY:· Josh Levy for the deponent.

 ·2· · · · · · ·MS. CLATTENBURG:· Rachel Clattenburg for the

 ·3· ·deponent.

 ·4· · · · · · ·THE VIDEOGRAPHER:· Will the court reporter

 ·5· ·please swear in the witness?

 ·6· ·Whereupon,

 ·7· · · · · · · · · · · Peter R. Fritsch,

 ·8· ·a witness of lawful age, after being duly sworn to

 ·9· ·tell the truth, the whole truth and nothing but the

 10· ·truth, testified as follows:

 11· · · · · · · · · · · ·EXAMINATION:

 12· ·BY MR. FRAY-WITZER:

 13· · · · Q.· ·Good morning.

 14· · · · A.· ·Good morning.

 15· · · · Q.· ·I'm Evan Fray-Witzer.· I represent the

 16· ·plaintiffs in this matter.

 17· · · · · · ·If you wouldn't mind, please, first telling

 18· ·us your name for the record?

 19· · · · A.· ·Sure.· It's Peter R. Fritsch, and that's

 20· ·F-R-I-T-S-C-H.

 21· · · · Q.· ·Thank you.


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com   YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 4 of 28

     PETER R. FRITSCH· Attorneys Eyes Only                        August 30, 2018
     ALEKSEJ GUBAREV -v- BUZZFEED INC.                                         14

 ·1· ·which is the Court's order on recast Motion to Quash

 ·2· ·of Nonparty Fusion GPS.· Have you seen this court

 ·3· ·order before?

 ·4· · · · · · ·(Fritsch Exhibit No. 5 was marked for

 ·5· ·identification.)

 ·6· · · · · · ·THE WITNESS:· Yes, I have.

 ·7· ·BY MR. FRAY-WITZER:

 ·8· · · · Q.· ·So are you familiar with the listed areas of

 ·9· ·inquiry for which you've been designated Fusion GPS's

 10· ·30(b)(6) witness?

 11· · · · A.· ·Yes, I am.

 12· · · · Q.· ·Can you tell me, please, other than the

 13· ·conversations that you've had with your counsel, what

 14· ·did you do to prepare for today's deposition?

 15· · · · A.· ·Everything I did, I did with counsel in

 16· ·preparation for today.

 17· · · · Q.· ·Did you speak with any Fusion GPS employees

 18· ·or contractors in preparation for today?

 19· · · · A.· ·Not without counsel present.

 20· · · · Q.· ·What did you do to inform yourself with

 21· ·respect to conversations that Glenn Simpson had in


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 5 of 28

     PETER R. FRITSCH· Attorneys Eyes Only                        August 30, 2018
     ALEKSEJ GUBAREV -v- BUZZFEED INC.                                         15

 ·1· ·connection with the matters to be discussed today?

 ·2· · · · · · ·MR. LEVY:· I'm going to instruct the witness

 ·3· ·to not answer that question inasmuch as it would

 ·4· ·implicate the attorney-client privilege or the

 ·5· ·attorney work product doctrine.

 ·6· · · · · · ·Otherwise you can answer that question.

 ·7· · · · · · ·THE WITNESS:· I'm sorry.· I'm a little

 ·8· ·confused.· I may answer it or I may not?

 ·9· · · · · · ·MR. LEVY:· If there are people with whom

 10· ·you've spoken through counsel, you may talk about the

 11· ·people you've -- with whom you've spoken.

 12· · · · · · ·THE WITNESS:· Oh, sorry.· Sure.

 13· · · · · · ·I consulted with Mr. Simpson, I consulted

 14· ·with other relevant employees.

 15· ·BY MR. FRAY-WITZER:

 16· · · · Q.· ·Which employees are those?

 17· · · · A.· ·Various partners; Jason Felch who is a

 18· ·partner of ours at our company, Thomas Catan, Laura

 19· ·Seago and Jake Berkowitz.

 20· · · · Q.· ·I'm sorry.· Laura?

 21· · · · A.· ·Seago.· She's an employee.


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 6 of 28

     PETER R. FRITSCH· Attorneys Eyes Only                        August 30, 2018
     ALEKSEJ GUBAREV -v- BUZZFEED INC.                                         16

 ·1· · · · · · ·(The reporter requested clarification.)

 ·2· · · · · · ·THE WITNESS:· S-E-A-G-O.· Jacob Berkowitz,

 ·3· ·B-E-R-K-O-W-I-T-Z.

 ·4· · · · · · ·And our -- and administrative support staff

 ·5· ·who keep things such as contracts and other records.

 ·6· ·BY MR. FRAY-WITZER:

 ·7· · · · Q.· ·How long were your conversations with Glenn

 ·8· ·Simpson in preparation for today?

 ·9· · · · · · ·MR. LEVY:· I'm going to repeat the same

 10· ·instruction.

 11· · · · · · ·Go ahead.

 12· · · · · · ·THE WITNESS:· I'm not sure honestly.· Hours.

 13· ·BY MR. FRAY-WITZER:

 14· · · · Q.· ·Would you say it's more than five hours?

 15· · · · A.· ·That sounds fair.

 16· · · · Q.· ·And your conversations with Jason Felch?

 17· · · · A.· ·Felch.

 18· · · · Q.· ·Felch.

 19· · · · A.· ·That's F-E-L-C-H.

 20· · · · Q.· ·How long did you speak with Mr. Felch?

 21· · · · A.· ·Briefly, maybe an hour.


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 7 of 28

     PETER R. FRITSCH· Attorneys Eyes Only                        August 30, 2018
     ALEKSEJ GUBAREV -v- BUZZFEED INC.                                         17

 ·1· · · · Q.· ·How long did you speak with Mr. Catan?

 ·2· · · · A.· ·Same sort of timeframe.

 ·3· · · · · · ·If it's helpful, I was present for many of

 ·4· ·the events that are the subject of the deposition

 ·5· ·today.

 ·6· · · · Q.· ·Was it Laura Seago?

 ·7· · · · A.· ·Laura.

 ·8· · · · Q.· ·And how long did you speak with Laura Seago?

 ·9· · · · A.· ·It's Seago, S-E-A-G-O.

 10· · · · · · ·A half hour.

 11· · · · Q.· ·And how long did you speak with Jacob

 12· ·Berkowitz?

 13· · · · A.· ·Hour or two.

 14· · · · Q.· ·Just in general terms, what was Mr.

 15· ·Berkowitz's involvement with the areas to be inquired

 16· ·about today?

 17· · · · A.· ·He's a researcher in our office who was

 18· ·working on various client matters in 2015, '16

 19· ·including research into Trump and Russia.

 20· · · · Q.· ·And the same question for Laura Seago, what

 21· ·topics did you discuss with Laura Seago?


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 8 of 28

     PETER R. FRITSCH· Attorneys Eyes Only                        August 30, 2018
     ALEKSEJ GUBAREV -v- BUZZFEED INC.                                         18

 ·1· · · · A.· ·The production of records primarily.

 ·2· · · · Q.· ·What subjects did you discuss with Thomas

 ·3· ·Catan?

 ·4· · · · A.· ·I can't recall but likely the collection of

 ·5· ·documents that could be produced.

 ·6· · · · Q.· ·And what topics did you discuss with Jason

 ·7· ·Felch?

 ·8· · · · A.· ·His recollections of his contacts with Mr.

 ·9· ·Bensinger of BuzzFeed.

 10· · · · Q.· ·Did you have any discussions with Nellie Ohr

 11· ·concerning the matters to be discussed today?

 12· · · · · · ·MR. LEVY:· Objection, foundation.

 13· · · · · · ·MR. FRAY-WITZER:· Foundation for the

 14· ·question?

 15· · · · · · ·MR. LEVY:· Yes.

 16· · · · · · ·MR. FRAY-WITZER:· It's been widely reported

 17· ·that Ms. Ohr did work on collection of information for

 18· ·the dossier.· I have no way of knowing if the

 19· ·reporting is true.· But if it is, then that would be

 20· ·someone that I would have expected the witness to

 21· ·speak with.


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 9 of 28

     PETER R. FRITSCH· Attorneys Eyes Only                        August 30, 2018
     ALEKSEJ GUBAREV -v- BUZZFEED INC.                                         19

 ·1· · · · · · ·MR. LEVY:· What's the question?

 ·2· ·BY MR. FRAY-WITZER:

 ·3· · · · Q.· ·Did you have conversations with Nellie Ohr

 ·4· ·concerning the topics to be discussed today?

 ·5· · · · A.· ·I did not.

 ·6· · · · Q.· ·Did you have any conversations with

 ·7· ·Christopher Steele in preparation for today?

 ·8· · · · A.· ·I did not.

 ·9· · · · Q.· ·Did you have any conversations with either

 10· ·BuzzFeed or anyone representing BuzzFeed in

 11· ·preparation for today?

 12· · · · A.· ·No, I did not.

 13· · · · Q.· ·Other than the people that you've mentioned

 14· ·already, can you recall anyone else that you might

 15· ·have spoken to in preparation for your deposition

 16· ·today?

 17· · · · A.· ·No, I can't.

 18· · · · Q.· ·Did you review any documents in preparation

 19· ·for your deposition today?

 20· · · · A.· ·Yes, I did.

 21· · · · Q.· ·To the best of your recollection, can you


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 10 of 28

      PETER R. FRITSCH· Attorneys Eyes Only                       August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       113

 ·1· ·that.

 ·2· · · · Q.· ·Prior to December 13th, 2016, did Fusion GPS

 ·3· ·have any communication with anyone from BuzzFeed?

 ·4· · · · · · ·MR. LEVY:· About this work?

 ·5· ·BY MR. FRAY-WITZER:

 ·6· · · · Q.· ·Concerning the Trump investigation?

 ·7· · · · A.· ·Prior to publication?

 ·8· · · · Q.· ·And prior to December 13th, 2016?

 ·9· · · · A.· ·Yes, we did.

 10· · · · Q.· ·With whom did Fusion have communications?

 11· · · · A.· ·Just to be clear, you're asking me regarding

 12· ·what exactly?· The Trump Russia investigation or the

 13· ·dossier, what exactly is the --

 14· · · · Q.· ·Well, regarding the investigation or the

 15· ·memos that were produced as a result of that

 16· ·investigation?

 17· · · · A.· ·Right.· To the best of our recollection, we

 18· ·did have some communications with Ken Bensinger.

 19· · · · Q.· ·And who specifically had communications with

 20· ·Ken Bensinger?

 21· · · · A.· ·Glenn Simpson, myself.· Mr. Felch had some


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 11 of 28

      PETER R. FRITSCH· Attorneys Eyes Only                       August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       114

 ·1· ·communications I believe beforehand with -- but you

 ·2· ·should understand that he and Mr. -- Mr. Bensinger and

 ·3· ·Mr. Felch are friends.· They both live in Los Angeles.

 ·4· · · · · · ·So, I don't believe however that they

 ·5· ·discussed our ongoing work, that's Mr. Felch and Mr.

 ·6· ·Bensinger.

 ·7· · · · Q.· ·Did you and Mr. Bensinger discuss your

 ·8· ·ongoing work on or before December 13th, 2016?

 ·9· · · · A.· ·Me personally?

 10· · · · Q.· ·Yes.

 11· · · · A.· ·No, I did not.

 12· · · · Q.· ·Did Mr. Simpson have discussions with Mr.

 13· ·Bensinger concerning the ongoing work prior to

 14· ·December 13th, 2016?

 15· · · · A.· ·Yes, I believe he did.

 16· · · · Q.· ·Were those conversations in person or by

 17· ·telephone or some other method?

 18· · · · A.· ·I think both.· And I'll run through our

 19· ·recollection of it, if that's helpful.

 20· · · · · · ·We recall that Jason, Mr. Felch in Los

 21· ·Angeles, had contacted Glenn at some point saying that


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 12 of 28

      PETER R. FRITSCH· Attorneys Eyes Only                       August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       115

 ·1· ·Ken, his friend, Mr. Bensinger, was interested in

 ·2· ·following up on some of the -- on Trump and Russia

 ·3· ·generally, and would we be willing to talk to him

 ·4· ·about that.

 ·5· · · · · · ·So my recollection is that they had a

 ·6· ·telephonic conversation.· And we think that's the

 ·7· ·beginning of December, end of November.

 ·8· · · · · · ·I don't believe we discussed anything

 ·9· ·related to the dossier in that conversation or our

 10· ·research.· It was more, hey, you're generally

 11· ·interested.· We'd -- we'd be willing to discuss those

 12· ·matters with you.

 13· · · · · · ·Subsequent to that, we -- and by we, I mean

 14· ·myself, Mr. Simpson and a couple of our partners

 15· ·including Mr. Catan and Mr. Felch met -- had a -- sort

 16· ·of a social company retreat, sort of thing I guess

 17· ·you'd call it in Northern California.· And Ken was in

 18· ·town and he joined us for a couple of hours, I want to

 19· ·say or a few hours.· I think he spent the night, but

 20· ·he arrived very late.· And that was a purely social

 21· ·encounter to the best of our recollection.


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 13 of 28

      PETER R. FRITSCH· Attorneys Eyes Only                       August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       116

 ·1· · · · · · ·Thereafter, Mr. Bensinger got in touch

 ·2· ·again, and I don't remember if that was telephonically

 ·3· ·or in person or we don't recall.· And he -- he did

 ·4· ·represent at one point that he knew Mr. Steele from

 ·5· ·his previous -- and I think we talked about that

 ·6· ·earlier -- from his work covering FIFA.

 ·7· · · · · · ·We, at that time, didn't confirm or deny

 ·8· ·anything about Mr. Steele or our relationship with

 ·9· ·him.

 10· · · · · · ·Subsequently, he did, in fact, request or

 11· ·understand or learn that there was a -- that there

 12· ·were these reports that you've marked Exhibit 8 and

 13· ·asked Glenn specifically for a copy of those reports

 14· ·which we declined to provide.

 15· · · · Q.· ·Why did you decline to provide a copy of the

 16· ·report?

 17· · · · A.· ·In simplest terms, we just didn't know Ken

 18· ·very well.· He is an accomplished investigative

 19· ·reporter.· That we know.

 20· · · · · · ·Jason Felch, who is also an accomplished

 21· ·reporter told us that Ken was a reliable person.· And


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 14 of 28

      PETER R. FRITSCH· Attorneys Eyes Only                       August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       117

 ·1· ·so -- however, you know, the meetings that we had with

 ·2· ·various journalists that I alluded to earlier, all of

 ·3· ·those individuals are people we've known for many,

 ·4· ·many, many years and developed a sense of trust with.

 ·5· · · · · · ·And though Ken had a certain -- enjoyed a

 ·6· ·solid reputation, we just didn't know him well enough

 ·7· ·to do that.

 ·8· · · · Q.· ·And, again, prior to December 13th, 2016,

 ·9· ·would --

 10· · · · A.· ·I'm done, I believe.

 11· · · · Q.· ·Were there additional conversations with Mr.

 12· ·Bensinger?

 13· · · · A.· ·Yes.· There was a meeting later in

 14· ·December -- I'm sorry.· You asked after December 13?

 15· · · · Q.· ·Prior to December 13th?

 16· · · · A.· ·Prior to December 13th.· I don't believe so.

 17· · · · Q.· ·Were there any conversations between anyone

 18· ·at Fusion and Ben Smith prior to December 13th, 2016?

 19· · · · A.· ·About?

 20· · · · Q.· ·About the Trump investigation or the memos

 21· ·that arose out of that investigation?


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 15 of 28

      PETER R. FRITSCH· Attorneys Eyes Only                       August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       188

 ·1· · · · A.· ·No, he didn't.

 ·2· · · · Q.· ·Just so that I understand, prior to the Wall

 ·3· ·Street Journal publishing that information, Fusion was

 ·4· ·unaware that the Wall Street Journal intended to

 ·5· ·publish that information.· Is that correct?

 ·6· · · · A.· ·That is correct.

 ·7· · · · Q.· ·Prior to the publication of the memos, did

 ·8· ·Fusion undertake any efforts to verify the allegations

 ·9· ·in the December memo concerning Alex Gubarev?

 10· · · · · · ·MR. LEVY:· Take your time to read through

 11· ·it.

 12· · · · · · ·THE WITNESS:· Yes, we did.· We took

 13· ·extensive steps to verify the information.

 14· ·BY MR. FRAY-WITZER:

 15· · · · Q.· ·And specifically the information concerning

 16· ·Alex Gubarev?

 17· · · · A.· ·Yes, that's right, we did.

 18· · · · Q.· ·What steps did Fusion take to verify the

 19· ·allegations concerning Alex Gubarev?

 20· · · · A.· ·We took extensive steps to, as I believe I

 21· ·testified, XBT, Webzilla and Mr. Gubarev were all new


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 16 of 28

      PETER R. FRITSCH· Attorneys Eyes Only                       August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       189

 ·1· ·names to us.· So we went to the public record to

 ·2· ·determine who these people are and to determine

 ·3· ·whether the information in Paragraph 3 of this memo

 ·4· ·was credible.

 ·5· · · · · · ·What we found was an extensive record of a

 ·6· ·company based in Luxemburg with no fewer than 51

 ·7· ·subsidiary companies or shell companies, located in

 ·8· ·places like the British Virgin Islands, Cypress,

 ·9· ·Panama, India and Russia and the United States that

 10· ·was constructed in such a way to obscure the

 11· ·beneficial ownership of the company.

 12· · · · · · ·That's an important detail in our mind.

 13· · · · · · ·We undertook a litigation search of XBT and

 14· ·Webzilla and a public record search with the internet.

 15· ·We found extensive allegations, credible allegations.

 16· ·Paragraph 3 talks about porn traffic.· We found a

 17· ·number of websites hosted by Webzilla;

 18· ·asianpissinggirls.com, japanesetoiler.com.· In Fort

 19· ·Lauderdale, osuck.com.· They were hosted by Webzilla.

 20· · · · · · ·We found extensive allegations in the public

 21· ·record from credible people like motion picture


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 17 of 28

      PETER R. FRITSCH· Attorneys Eyes Only                       August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       190

 ·1· ·associations in filings to the U.S. and comments to

 ·2· ·the U.S. Copyright Office that Webzilla had ignored

 ·3· ·repeated entreaties to take down pirated traffic

 ·4· ·particularly in pornography.

 ·5· · · · · · ·We found that -- and this is a very telling

 ·6· ·fact for us -- we found Mr. Gurvits's name on

 ·7· ·extensive litigation in defense of alleged criminal

 ·8· ·hackers and networks in the Ukraine and Russia.

 ·9· · · · · · ·And that -- we found that FireEye had

 10· ·determined that --

 11· · · · · · ·(The reporter requested clarification.)

 12· · · · · · ·THE WITNESS:· FireEye, which is an internet

 13· ·security firm had determined that Webzilla was hosting

 14· ·a Propeller Ads -- a company called Propeller Ads

 15· ·which involved various individuals, also tied to Mr.

 16· ·Gubarev.

 17· · · · · · ·We understood there was a couple companies.

 18· ·One was called Co-locate USA, which is a known

 19· ·spamming network which is actually owned by Webzilla

 20· ·is what we understand.

 21· · · · · · ·There was another company called Digital --


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 18 of 28

      PETER R. FRITSCH· Attorneys Eyes Only                       August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       191

 ·1· ·I can't remember it right now.· It was involved

 ·2· ·allegedly in the Methbot attack which was --

 ·3· · · · · · ·(The reporter requested clarification.)

 ·4· · · · · · ·THE WITNESS:· Methbot, M-E-T-H-B-O-T, that

 ·5· ·at its height was stealing somewhere between three and

 ·6· ·$5 million a day from unsuspecting internet users.

 ·7· · · · · · ·So what we found was a pattern and a fact

 ·8· ·set that corroborated and substantially raised the

 ·9· ·credibility of the underlying reporting in this

 10· ·memorandum.

 11· ·BY MR. FRAY-WITZER:

 12· · · · Q.· ·I asked you what steps you took prior to the

 13· ·publication.· Is it your testimony that you undertook

 14· ·those steps prior to BuzzFeed's publication of the

 15· ·dossier?

 16· · · · · · ·MR. LEVY:· Objection, asked and answered.

 17· · · · · · ·MR. FRAY-WITZER:· Except he's answering a

 18· ·totally different question.

 19· · · · · · ·MR. LEVY:· No, he's not.

 20· · · · · · ·MR. FRAY-WITZER:· Okay.· Well, then let him

 21· ·answer it.


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 19 of 28

      PETER R. FRITSCH· Attorneys Eyes Only                       August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       192

 ·1· · · · · · ·MR. SIEGEL:· That's testimony, Evan.

 ·2· ·BY MR. FRAY-WITZER:

 ·3· · · · Q.· ·Did you --

 ·4· · · · · · ·MR. SIEGEL:· Ask your question.

 ·5· ·BY MR. FRAY-WITZER:

 ·6· · · · Q.· ·Did you -- did Fusion undertake those

 ·7· ·research efforts before BuzzFeed published the

 ·8· ·dossier?

 ·9· · · · A.· ·Yes, we did.

 10· · · · Q.· ·Then let me ask you this.· You said it was

 11· ·very relevant to you that Val Gurvits's name was on

 12· ·the pleading.· Why was that relevant prior to the

 13· ·publication of the dossier?

 14· · · · · · ·MR. LEVY:· Objection, lacks foundation.

 15· · · · · · ·THE WITNESS:· May I answer?

 16· ·BY MR. FRAY-WITZER:

 17· · · · Q.· ·Please.

 18· · · · A.· ·Well, as an investigative matter, as a

 19· ·research matter, who someone's lawyer is, whether it's

 20· ·for the formation of a company or the defense of

 21· ·allegations against them is entirely relevant in our


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 20 of 28

      PETER R. FRITSCH· Attorneys Eyes Only                       August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       193

 ·1· ·mind.

 ·2· · · · Q.· ·And what relevance did that have prior to

 ·3· ·the publication of the dossier?

 ·4· · · · · · ·MR. LEVY:· Objection, lack of foundation.

 ·5· · · · · · ·THE WITNESS:· Again --

 ·6· · · · · · ·MR. FRAY-WITZER:· He testified that it was

 ·7· ·relevant to him.· That's the foundation.· What's the

 ·8· ·relevance?

 ·9· · · · · · ·MR. LEVY:· Preserving the objection.

 10· · · · · · ·MR. FRAY-WITZER:· Fine.

 11· · · · · · ·THE WITNESS:· The relevance -- I mean, we

 12· ·were trying to understand, as I testified to you -- we

 13· ·were trying to understand who XBT, Webzilla and Mr.

 14· ·Gubarev are.· We had no idea.

 15· · · · · · ·So we employed our methodology, which as I

 16· ·said is an extensive collection effort, and a

 17· ·litigation review found those commonalities.

 18· ·BY MR. FRAY-WITZER:

 19· · · · Q.· ·On what date did Fusion start that review?

 20· · · · A.· ·Almost immediately.

 21· · · · Q.· ·Almost immediately upon what?


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 21 of 28

      PETER R. FRITSCH· Attorneys Eyes Only                       August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       194

 ·1· · · · A.· ·Sorry, upon receipt of the December 13th

 ·2· ·memo.

 ·3· · · · Q.· ·You -- and by you I mean Fusion was asked

 ·4· ·and ordered by the Court in this case to produce to us

 ·5· ·all documents that demonstrated investigation or

 ·6· ·information that you had concerning Webzilla, XBT or

 ·7· ·Mr. Gubarev that you had prior to the publication of

 ·8· ·the dossier.· There's not a single document that

 ·9· ·reflects anything that you're talking about.· Why is

 10· ·that?

 11· · · · · · ·MR. SIEGEL:· Objection.

 12· · · · · · ·MR. LEVY:· Objection, that's incorrect.· And

 13· ·if you'd let the witness testify as opposed to

 14· ·characterizing documents in his own testimony as

 15· ·you've done for the last six hours, we'd greatly

 16· ·appreciate it.

 17· ·BY MR. FRAY-WITZER:

 18· · · · Q.· ·Why aren't there any documents that

 19· ·demonstrate such an investigation prior to the

 20· ·publication?

 21· · · · · · ·MR. LEVY:· Objection, lack of foundation.


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 22 of 28

      PETER R. FRITSCH· Attorneys Eyes Only                       August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       195

 ·1· ·BY MR. FRAY-WITZER:

 ·2· · · · Q.· ·Tell me what documents you produced that

 ·3· ·demonstrate any kind of investigation that Fusion

 ·4· ·undertook prior to the publication of the dossier?

 ·5· · · · A.· ·I think our document production speaks for

 ·6· ·itself.

 ·7· · · · Q.· ·Tell me a single document that indicates

 ·8· ·that Fusion undertook an investigation of XBT,

 ·9· ·Webzilla or Mr. Gubarev prior to the publication of

 10· ·the dossier?

 11· · · · · · ·MR. LEVY:· Objection, asked and answered.

 12· · · · · · ·MR. SIEGEL:· Objection.

 13· · · · · · ·THE WITNESS:· I'm sorry.· I'm not sure how I

 14· ·can answer that.

 15· ·BY MR. FRAY-WITZER:

 16· · · · Q.· ·You said you reviewed the documents that you

 17· ·produced before today's deposition?

 18· · · · A.· ·Yes.

 19· · · · Q.· ·Correct?

 20· · · · A.· ·Correct.

 21· · · · Q.· ·So identify for me, tell me any document


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 23 of 28

      PETER R. FRITSCH· Attorneys Eyes Only                       August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       196

 ·1· ·that demonstrates an investigation prior to the

 ·2· ·publication --

 ·3· · · · A.· ·The entire.· I apologize for not letting you

 ·4· ·finish.

 ·5· · · · · · ·The entire Dr. Tubrook case, dot com case,

 ·6· ·the entire WebArt case were all things that we found

 ·7· ·in the public record prior to publication.· Not

 ·8· ·difficult to find.

 ·9· · · · · · ·MR. LEVY:· We can bring out the document

 10· ·production for Mr. Fritsch to look through if it's

 11· ·helpful for you.· He's given you some examples, he can

 12· ·give you others.· You have the production.

 13· ·BY MR. FRAY-WITZER:

 14· · · · Q.· ·Is there a document that you believe you

 15· ·produced that demonstrates -- that has a date on it

 16· ·prior to the publication of the dossier, that

 17· ·demonstrates that Fusion was engaged in an

 18· ·investigation of the sort you're talking about?

 19· · · · A.· ·I'm sorry.· As I sit here today I'd have to

 20· ·sit down with the documents and go -- and review them.

 21· ·Which I'm happy to do.


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 24 of 28

      PETER R. FRITSCH· Attorneys Eyes Only                       August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       197

 ·1· · · · Q.· ·I believe you testified that you did go

 ·2· ·through them and review them prior to this deposition?

 ·3· · · · · · ·MR. LEVY:· Objection, asked and answered.

 ·4· ·BY MR. FRAY-WITZER:

 ·5· · · · Q.· ·Did you go through them and review them

 ·6· ·prior to the deposition?

 ·7· · · · A.· ·I did.

 ·8· · · · Q.· ·So, why can't you tell us today as you sit

 ·9· ·here what document has any date that predates the

 10· ·publication of the dossier that you believe supports

 11· ·your assertion that there was such an investigation

 12· ·before the publication of the dossier?

 13· · · · A.· ·I'm sorry.· I'm not trying to be difficult.

 14· ·I just can't recall.· The document production that I

 15· ·reviewed with Mr. Levy was probably four or five

 16· ·inches thick, if not larger.

 17· · · · Q.· ·What evidence did Fusion find that Alex

 18· ·Gubarev had been recruited under duress by the FSB?

 19· · · · A.· ·I don't believe we found any such evidence.

 20· ·Again, as I believe I've testified and as Mr. Steele

 21· ·evidently testified, the purpose or the goal was to


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 25 of 28

      PETER R. FRITSCH· Attorneys Eyes Only                       August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       198

 ·1· ·share this information in urgent fashion with

 ·2· ·competent authorities in law enforcement and

 ·3· ·government who could pursue them.

 ·4· · · · Q.· ·Well --

 ·5· · · · A.· ·This is not the kind of information that is

 ·6· ·easily confirmed in the open source.

 ·7· · · · Q.· ·What evidence did Fusion find that XBT,

 ·8· ·Webzilla was conducting altering operations against

 ·9· ·the democratic party leadership?

 10· · · · A.· ·Again, by altering operations by the way, I

 11· ·believe we're talking about hacking.

 12· · · · · · ·We found no specific allegations about XBT,

 13· ·Webzilla in the open source.· However, at this time it

 14· ·was an extensive matter of public record that the

 15· ·democratic party leadership had been hacked.· And,

 16· ·again, as I believe I testified, we determined that

 17· ·XBT, Webzilla operates the kind of network with the

 18· ·capability to carry out those kinds of acts.

 19· · · · · · ·We also understood XBT, by the way, since

 20· ·2015 to be working in Russia through its acquisition

 21· ·of Edinaya Set, E-D-I-N-A-Y-A, separate word, S-E-T.


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 26 of 28

      PETER R. FRITSCH· Attorneys Eyes Only                       August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       199

 ·1· ·Our understanding is we need to be in close

 ·2· ·cooperation with the State to offer internet services

 ·3· ·for hosting in Russian.

 ·4· · · · · · ·Prime Minister Medvedev just a couple of

 ·5· ·months ago signed a new law requiring companies to

 ·6· ·cooperate with the State under the guise of its

 ·7· ·National Security and Counter Terrorist Act.

 ·8· · · · · · ·So to us, again, the credibility's

 ·9· ·reinforced by the profile of the company.

 10· · · · Q.· ·Did Fusion have any actual evidence of

 11· ·cooperation between XBT, Webzilla and the Russian

 12· ·government?

 13· · · · · · ·MR. LEVY:· Objection, asked and answered.

 14· · · · · · ·He just answered the question.

 15· · · · · · ·MR. FRAY-WITZER:· No.· He just testified

 16· ·that there are requirements that he believes are in

 17· ·place and I want to know if he has any actual evidence

 18· ·that this company is cooperating with the Russian

 19· ·government.

 20· · · · · · ·MR. LEVY:· Objection.· Same objection as in

 21· ·that was part of his testimony, it wasn't all of his


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 27 of 28

      PETER R. FRITSCH· Attorneys Eyes Only                       August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       200

 ·1· ·testimony.

 ·2· · · · · · ·THE WITNESS:· One thing we found in the open

 ·3· ·source, just to help you understand that, is that --

 ·4· ·and I'm going to mangle the name -- but XBT after the

 ·5· ·Russian government shut down the messaging app

 ·6· ·telegram, it did talk about the contract, it's

 ·7· ·Roskomnadzor.· I can't remember the name.

 ·8· · · · · · ·(The reporter requested clarification.)

 ·9· · · · · · ·THE WITNESS:· I'm sorry.· I don't know how

 10· ·to spell it.

 11· · · · · · ·There's a report in the open source that

 12· ·talks about a contract with Edinaya Set, the company I

 13· ·referenced earlier that belongs to XBT Holdings to

 14· ·work with the Russian government.

 15· · · · · · ·So, again, from a researcher standpoint, a

 16· ·lot of those facts are important.

 17· · · · · · ·When you're trying to assess the credibility

 18· ·of a report like this, not the truth, the credibility

 19· ·of it.

 20· ·BY MR. FRAY-WITZER:

 21· · · · Q.· ·Have you produced this alleged contract


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
                                                                                YVer1f
Case 0:17-cv-60426-UU Document 352-2 Entered on FLSD Docket 11/20/2018 Page 28 of 28

      PETER R. FRITSCH· Attorneys Eyes Only                       August 30, 2018
      ALEKSEJ GUBAREV -v- BUZZFEED INC.                                       270

 ·1· · · · · · ·REPORTER'S CERTIFICATE

 ·2· · · · · · ·District of Columbia

 ·3· · · · · · ·County of Washington, to wit:

 ·4· · · · · · · · ·I, KENNETH NORRIS, a Notary Public of

 ·5· ·the District of Columbia, County of Washington, do

 ·6· ·hereby certify that the within named witness

 ·7· ·personally appeared before me at the time and place

 ·8· ·herein set out, and after having been duly sworn by

 ·9· ·me, according to law, was examined.

 10· · · · · · · · · I further certify that the examination

 11· ·was recorded stenographically by me and this

 12· ·transcript is a true record of the proceedings.

 13· · · · · · · · · I further certify that I am not of

 14· ·counsel to any of the parties, nor in any way

 15· ·interested in the outcome of this action.

 16· · · · · · · · · As witness my hand and notarial seal

 17· ·this 30th day of August 2018.

 18

 19

 20

 21


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
